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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


PHILIP SIEFF, as Trustee for the                 CIVIL NO. 15-419 (PAM/DTS)
next-of-kin of Dawn Marie Pfister,
deceased,

         Plaintiff,

v.                                               ORDER

BRADY JUELL,
acting in his individual capacity
as a Chaska Police Officer,

         Defendant.


         The above matter came before the undersigned upon the parties’ Joint Motion

Regarding Continued Sealing [Docket No. 95].

         The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, now makes and enters the following Order.

         IT IS HEREBY ORDERED that:

         1.      The parties’ Joint Motion Regarding Continued Sealing [Docket No. 95] is

GRANTED.

         2.      The Clerk is directed to keep the following documents sealed: Docket

Nos. 75, 77, 79, 80-81, 85-86.


Dated:           June 30, 2017

                                           s/ David T. Schultz
                                           DAVID T. SCHULTZ
                                           United States Magistrate Judge
